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       REALTIME ADAPTIVE STREAMING LLC
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 12
                           UNITED STATES DISTRICT COURT
 13
                         CENTRAL DISTRICT OF CALIFORNIA
 14
                                  WESTERN DIVISION
 15
 16
       REALTIME ADAPTIVE                          Case No. 2:19-cv-06359-GW-JC
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       STREAMING LLC,
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                   Plaintiff,                     NOTICE OF DISMISSAL
 19
             v.
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       NETFLIX, INC. and
 21    NETFLIX STREAMING
 22    SERVICES, INC.,
 23                Defendants.

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                         1          Under Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff Realtime
                         2    Adaptive Streaming LLC hereby dismisses the Complaint against Defendants.
                         3    Each party shall bear its own costs, expenses and attorneys’ fees.
                         4                                            Respectfully submitted,
                         5    DATED: November 14, 2019                RUSS, AUGUST & KABAT
                         6
                                                                      By: /s/ Reza Mirzaie
                         7
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                                                                      Realtime Adaptive Streaming LLC
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                       Case 2:19-cv-06359-GW-JC Document 31 Filed 11/14/19 Page 3 of 3 Page ID #:1744



                         1                            CERTIFICATE OF SERVICE
                         2          The undersigned hereby certifies that a true copy of the foregoing document
                         3    has been served on November 14, 2019 to all counsel of record via electronic
                         4    service.
                         5
                         6    Dated: November 14, 2019                    /s/ Reza Mirzaie
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RUSS, AUGUST & KABAT




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